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      EXHIBIT 1
                          Case 20-33900 Document 1373-1 Filed in TXSB on 12/18/20 Page 2 of 36
  Fill in this information to identify the case:

  Debtor 1              THE MEN'S WEARHOUSE, INC.
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________  District
                                          Southern District      __________
                                                            ofofTexas

  Case number            4:20-bk-33911
                         ___________________________________________




                       410
 Proof of Claim                                                                                                                                                      /1

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      MICHAEL     HOFFMAN
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔ No
                                      
   acquired from
   someone else?                       Yes.     From whom?       ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      RICHARD T. BAUM
                                      _____________________________________________________                       Southern California Labor Law Group
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     11500 West Olympic Blvd, Suite 400
                                      ______________________________________________________                      1875 Century Park East, Suite 480
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      Los Angeles                CA           90064
                                      ______________________________________________________                       Los Angeles               CA           90067
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone   310.277.2040
                                                       ________________________                                   Contact phone   424.231.2366
                                                                                                                                   ________________________

                                      Contact email   rickbaum@hotmail.com
                                                        ________________________                                  Contact email   tprainito@scllgpc.com
                                                                                                                                   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔ No
                                      
   one already filed?
                                       Yes.     Claim number on court claims registry (if known) ________                               Filed on   ________________________
                                                                                                                                                    MM / DD       / YYYY



5. Do you know if anyone              ✔ No
                                      
   else has filed a proof              Yes.     Who made the earlier filing?         _____________________________
   of claim for this claim?




 Official Form 410                                                              Proof of Claim                                                              page 1
                     Case 20-33900 Document 1373-1 Filed in TXSB on 12/18/20 Page 3 of 36


 Part 2:     Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                           5,000,000.00 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                            
                                                                            ✔    No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                  sexual orientation based discrimination and harassment; retaliation
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔ No
                                 
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




                                                         Proof of Claim                                                         page 2
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12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check all that apply:                                                                                    Amount entitled to priority

    A claim may be partly                    Domestic support obligations (including alimony and child support) under
    priority and partly                       11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
    nonpriority. For example,
    in some categories, the                  Up to $,* of deposits toward purchase, lease, or rental of property or services for
    law limits the amount                     personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
    entitled to priority.
                                             Wages, salaries, or commissions (up to $1,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:     Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    ✔
                                  I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date 12/18/2020
                                                   _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                   /s/ Richard T. Baum
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   RICHARD T. BAUM
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Attorney
                                                         _______________________________________________________________________________________________

                                  Company                Law Offices of Richard T. Baum
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                11500 West Olympic Boulevard, Suite 400
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                         Los Angeles                                     CA           90064
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          310.277.2040
                                                         _____________________________                              Email   rickbaum@hotmail.com
                                                                                                                                 ____________________________________




                                                                 Proof of Claim                                                                page 3
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      EXHIBIT 1
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